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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA



      V.                                     Case No.: 21-cr-78 (EGS)



JOHN SULLIVAN

                    RESPONSE TO ORDER OF COURT
                (Availability of the parties for status hearing)

      Undersigned counsel respond to the August 16, 2020 Minute Order of

the Court concerning the availability of the parties for the next status

hearing.

      The parties are available on the following dates: 9/20/21; 9/22/21;

9/24/21.

      Counsel for defendant notes as follows: Counsel is scheduled to start

a lengthy trial before the Honorable Milton Lee in the Superior Court of the

District of Columbia on September 8, 2021. At the present time, the

expectation is that because of the anticipated length of the trial proceedings

the Court will try to sit on Fridays. However, it is not at all yet clear that the

Court will be able to sit on Fridays. Accordingly, counsel for defendant




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believes that the best date for a status hearing in this case is Friday,

September 24, 2021.1




                                           Respectfully submitted,


                                           ______/s/_____________
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                                           _______/s/_______________
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1
 Counsel for defendant believes that Judge Lee will accommodate a
request with advance notice that is made for the scheduling of a status
hearing in this matter.
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